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IN THE UNITED STATES I)ISTRICT COURT
F()R THE DISTRICT OF DELAWARE

PARTNERS HEALTHCARE SOLUTIONS
HOLDINGS, L.P.,

Plaintiff,
v.
UNIVERSAL AMERICAN CORP.J

Defendant.

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) C.A. NO. 13-1767-RGA
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DEFENDANT UNIVERSAL AMERICAN CORP.’S
REPLY IN FURTHER SUPPORT OF ITS
MOTION T() DISMISS PLAINTIFF’S COMPLAINT

OfCourzSel.'

AndreW J. Levander

Linda C. Goldstein

Paul C. Kingsbery

Dechert LLP

1095 Avenue cf the Americas
New York, New York 10036
212-698~3500
andrew.levander@dechert.com
linda.goldstein@dechert.com
paul.kingsbery@dechert.com

Stuart T. Steinberg

E]isa T. Wiygul

Dechert LLP

2929 Arch Street

Philadelphia, Pennsylvania 19104
215-994-4000
Stuart.Steinberg@dechert.com
elisa.vviygul@dechert.com

Dated: December 23, 2013

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Blake Rohrbacher (#4750)
Kelly E. Farnan (#43 95)
Katharine C. Lester (#5629)
Richards, Layton & Finger, P.A.
920 North King Street
Wilmington, Delaware 19801
302~651-7700
rohrbacher@rlf.com
faman@rlf.com

lester@rlf.com

Aftorneysfor Dej%ndanl Universal American
Corp.

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APSLP’s cursory three-and-a-half page opposition brief reflects a deliberate choice to
avoid any engagement on the merits of Universal’s motion to dismiss Apparently, even APSLP
knows that its redundant Declaratory Action is dead on arrival. As Universal has shown_and,
importantly, as APSLP does not dispute_the issues that APSLP seeks to raise defensively
through its Declaratory Action Will be fully adjudicated in the course of determining Universal’s
claims for damages and other affirmative relief in the Securities Fraud Action before this Court.
Given the Delaware forum selection provision in the Merger Agreement and the fact that federal
courts have exclusive jurisdiction over federal securities fraud claims, this Court is the only court
that can resolve all of Universal’s fraud and breach of contract claims. No legitimate purpose
Would be served by having the parties Waste resources litigating APSLP’s superfluous
Declaratory Action, Whether in the Delavvare Court of Chancery or this Court~_and not even
APSLP suggests otherwise

APSLP tries to duck Universal’s motion to dismiss by arguing that this Court should first
decide APSLP’s remand motion. APSLP cannot, however, hide behind its remand motion As
Universal demonstrated in its opposition to that motion, Universal properly removed the
Declaratory Action to this Ccurt. (See D.l. 20.) That APSLP chose to make this argument the
centerpiece of its opposition to Universal’s motion to dismiss only highlights that APSLP’s goal
is an improper one~»»--to foment two litigations in two courts on the same facts and claims.

APSLP further suggests that “[i]f the remand motion is denied, the parties should be
directed to meet and confer on an agreed motion to consolidate [Universal’s] lawsuit and
APSLP’s declaratory judgment action into a single proceeding before this Court.” (D.I. 18 at l.)
APSLP’s remarkable request that the Court simply skip ruling on Universal’s motion makes it

plain that APSLP has no answer to the case law holding that duplicative declaratory judgment

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claims should be dismissed. (See D.I. 12 at 14-16.) This Court should not bypass Universal’s
motion merely because APSLP has no answer to it. Consolidation of Universal’s complaint and
APSLP’s redundant defensive claims is unnecessary APSLP’s claims should be dismissed, and
APSLP can defend against Universal’s complaint in the normal fashion.

Finally, APSLP’s explanation for why it supposedly had “no reasonable alternative other
than to file its declaratory judgment action” is both implausible and beside the point. (D.l. 18 at
4.) APSLP concedes that Universal had imposed an October 21, 2013 deadline, after which
Universal would file the Securities Fraud Action. (See id. at 3.) Thus, if APSLP believed that
the parties’ settlement talks had come to an end, APSLP had no need to file its own lawsuit
seeking declaratory relief on the claims that it knew Universal would bring because Universal’s
lawsuit was imminentl More importantly, even though APSLP’s counsel has submitted his own
declaration, he does not deny that he told Universal’s counsel not to “press the button” on
Universal’s lawsuit, only to sneak off to Delaware state court that night Regardless of APSLP’s
reasoning, its concession that it misled Universal, the true plaintiff, in a bid to beat Universal to
the punch is alone grounds for dismissal. (See D.I. 12 at l7'-l9.)

Conclusion

F or the foregoing reasons and for the reasons stated in Universal’s Opening Brief, this

Court should dismiss the Declaratory Action in favor of the Securities Fraud Action.

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Of Counsel:

Andrew J. Levander

Linda C. Goldstein

Paul C. Kingsbery

Dechert LLP

1095 Avenue of the Americas
New York, New York 10036
212-698-3500
andrew.levander@dechert.com
linda.goldstein@dechert.com
paul.kingsbery@dechert.com

Stuart T. Steinberg

Elisa T. Wiygul

Dechert LLP

2929 Arch Street

Philadelphia, Pennsylvania 19104
215-994-4000
stuart.steinberg@dechert.com
elisa.wiygul@dechert.com

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/s/ Blake Rohrbacher
Blake Rohrbacher (# 4750)
Kelly E. Farnan (#4395)
Katharine C. Lester (#5629)
Richards, Layton & Finger, P.A.
920 North King Street
Wilmington, Delaware 19801
3 02»651~7700
rohrbacher@rlf.com
farnan@rlf.com
lester@rlf. com

Attorneysfor Defendam‘ Um'versal American
Corp.

